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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ELIZABETH VAN DUYNE, and THE                      §
STATE OF TEXAS,                                   §
    Plaintiffs,                                   §
                                                  §
v.                                                §       CIVIL ACTION NO. 4:22-cv-00122-O
                                                  §
CENTERS FOR DISEASE CONTROL                       §
AND PREVENTION, ROCHELLE P.                       §
WALENSKY, in her official capacity as             §
Director of the CDC, SHERRI A. BERGER, §
in her official capacity as Chief of Staff of the §
CDC, UNITED STATES DEPARTMENT                     §
OF HEALTH AND HUMAN SERVICES,                     §
XAVIER BECERRA, in his official                   §
capacity as Secretary of HHS, and                 §
UNITED STATES OF AMERICA.                         §
       Defendants.                                §


               PLAINTIFF BETH VAN DUYNE’S REPLY IN SUPPORT OF
                    MOTION FOR PRELIMINARY INJUNCTION




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        Plaintiff Beth Van Duyne files the following reply to Defendants’ Opposition to Plaintiff

Elizabeth Van Duyne’s Motion for a Preliminary Injunction. (Doc. 13).

I.      Plaintiff is likely to succeed on the merits.

        Defendants urge the Court to not even consider the merits of Plaintiff’s Challenge. (Doc.

13 at 27). But likelihood of success on the merits is “arguably the most important” factor for

injunctive relief, Tesfamichael v. Gonzales, 411 F.3d 169, 176 (5th Cir. 1985) (discussing

temporary stays of removal); accord Defense Distributed v. U.S. Dep’t of State, 865 F.3d 211, 212

(5th Cir. 2017) (Elrod, J., dissenting from denial of petition for rehearing en banc), and Plaintiff is

likely to win on the merits.

        A.      Within the meaning of the statute, the Mask Mandate is not a “sanitation”
                measure nor is it like a sanitation measure.

        When read as a whole, § 264(a) does not authorize the CDC to issue the Mask Mandate.

Defendants’ argument, on the other hand, hinges entirely on the meaning of “sanitation.” 1 (Doc.

13 at 27-32). To arrive at their favored meaning, they rip “sanitation” out of the statute and then

offer the broadest possible meaning as to what it authorizes the federal government to do. This is

not how courts interpret statutes. “[I]ndividual terms or phrases should not be interpreted in

isolation.” Sealed Appellee 1 v. Sealed Appellant 1, 767 F.3d 418, 421 (5th Cir. 2013). Section

264(a) allows for “inspection, fumigation, disinfection, sanitation, pest extermination, destruction

of animals or articles found to be so infected or contaminated . . . , and other measures, as in his

judgment may be necessary.” 42 U.S.C. § 264(a). Defendants’ interpretation § 264(a) ignores the

context, structure, and history of statute.




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        Defendants’ only argument is that the Mask Mandate is a “sanitation” measure or at least
like one and do not contend any of the other measures listed authorize the Mask Mandate.


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               1.      In context, “sanitation” does not confer authority to the CDC to issue
                       population wide, preventative health measures.

       “Sanitation” must be read in context with the words around it “We are not to focus

myopically on a particular statutory provision in isolation because [t]he meaning—or ambiguity—

of certain words or phrases may only become evident when placed in context.” Sw. Elec. Power

Co. v. United States EPA, 920 F.3d 999, 1023 (5th Cir. 2019) (internal quotations omitted). As the

Supreme Court noted, all the measures listed in § 264(a) “directly relate to preventing the spread

of disease by identifying, isolating, and destroying the disease itself.” Ala. Ass’n of Realtors v.

HHS, 141 S. Ct. 2485, 2488 (2021) (“AAR”). Accordingly, the measures adopted by the CDC

must involve “direct targeting of disease.” Id. The Mask Mandate applies to all travelers. It does

not discriminate between the people capable of spreading disease and the millions of travelers that

are not capable of spreading disease. Therefore, it is not a measure that directly targets disease.

       “Sanitation” must be read in conjunction with “the company it keeps.” United States v

Koutsostamatis, 956 F.3d 301, 307 (5th Cir. 2020) (quoting Graham Cty. Soil & Water

Conservation Dist. v. U.S. ex rel Wilson, 559 U.S. 280, 287 (2010)). Construing sanitation so

broadly would be inconsistent with the “discrete actions” authorized by the other measures in the

statute.” See Florida v. Becerra, 2021 U.S. Dist. LEXIS 114297, at *43 (M.D. Fla. 2021).

Dictionary definitions are not dispositive. “[T]he meanings of common words (which typically

have multiple definitions) must be determined in the context in which they appear.” Texas v.

United States EPA, 983 F.3d 826, 836 n.2 (5th Cir. 2020)

       All the other § 264(a) measures involve finding and eliminating known sources of

disease—e.g., fumigation, disinfection, etc. Sanitation should be understood similarly. Or,

consistent with Defendants’ definition, it is the “process of making sanitary.” Requiring travelers




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that do not have COVID-19, are not suspected of having COVID-19, and cannot transmit COVID-

19 to wear masks does not make them sanitary, because they were already sanitary.

       Defendants’ reading would also subsume the other measures listed and render them mere

“surplusage.” If “sanitation” merely means any preventative measure that could limit disease

spread, then there would be no need for the statute to include “fumigation,” “disinfection,”

“extermination,” as they would all just be forms of sanitation. This violates the surplusage canon,

which requires “that every word is to be given effect.” Asadi v. G.E. Energy United States, L.L.C.,

720 F.3d 620, 628 (2013). Instead, the Court should adopt a more natural reading of sanitation that

requires the federal government to identify a source of possible infection and then neutralize it.

               2.      The structure of the PSHA shows the federal government’s authority is
                       limited to targeted measures.

       The structure of the Public Health Services Act (the “PSHA”) further reveals the federal

government’s limited authority. Section 264’s placement within the “inspection and quarantine”

portion of the PSHA gives credence to Plaintiff’s interpretation of the statute as being limited to

finding and combatting known or suspected causes of a disease. Though Defendants’ attempt to

wave away that argument in a footnote, titles of statutes have long aided courts in resolving the

meaning of legislative text. See, e.g., United States v. Barnes, 803 F.3d 209, 222-23 (5th Cir. 2015)

(citing I.N.S. v. Nat’l Ctr. for Immigrants’ Rights, 502 U.S. 183, 189 (1991)).

       Further, multiple courts have noted that within § 264, subsection (a) is “concerned

exclusively with restrictions on property interests” and subsection (d) is concerned with

restrictions on people. Tiger Lily, LLC v. United States HUD, 992 F.3d 518, 522, 524 (6th Cir.

2021); accord Chambless Enters. v. Redfield, 508 F. Supp. 3d 101, 111 (W. D. La. 2020) (Section

264 allows “measures [that] include the authority to impose restrictions on individuals' freedom of

movement, including the ‘apprehension, detention, or conditional release of individuals.’” It “also



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include[s] intrusions on private property, such as its ‘inspection, fumigation, disinfection,

sanitation,’ and even ‘destruction.’”). This makes sense given that subsection (a) concerns

“animals or articles found to be so infected.” § 264(a).

       Defendants have provided no answer to resolve this discrepancy other than to say that

Plaintiff does not have a constitutionally protected liberty interest in not wearing a mask. (Doc. 13

at 30). This answers the wrong question. The question here is not whether Plaintiff has a liberty

interest in going maskless on airplanes; it is whether Congress gave Defendants the authority to

take away her liberty to choose whether to wear a mask on airplanes. Defendants also argue the

Mask Mandate does not target people. This is a strange conclusion to draw from a regulation titled

“Requirement for Persons to Wear Masks While on Conveyances and at Transportation Hubs.” 86

Fed. Reg. 8025 (Feb. 3, 2021) (underline added). People are clearly the target of the regulation.

       This distinction between property regulations and regulation of persons helps make sense

of the entire statute. As Defendants point out, the Mask Mandate is “more modest” than the other

measures enumerated in subsection (a)—“inspection,” “fumigation,” “disinfection,” “pest

exterminations,” and “destruction.” This is because, as the Sixth Circuit noted, Congress never

meant for subsection (a) to be applied to people. Just like Congress would not expect the CDC to

“fumigat[e]” a person, neither would Congress have expected the CDC to “sanit[ize]” a person.

Subsection (d) is the only part of the statute that concerns regulation of people, and it requires that

a person be “reasonably believed to be infected with a communicable disease.” The CDC’s blanket

Mask Mandate does nothing of the sort.

               3.      The history of federal quarantine and disease control shows the PSHA’s
                       limited role for the federal government.

       The PSHA did not grant the federal government new public health powers. It merely

codified its existing role of inspection, quarantine, and assisting state authorities. In Florida v.



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Becerra, the CDC conceded that the PSHA “consolidates and codifies the federal quarantine

practices applied during the previous century.” 2021 U.S. Dist. LEXIS 114297, at *44. Here, the

CDC claims the authority to institute a Mask Mandate for interstate travel for the first time in

history. This claim of newly discovered power in a “long-extant statute” should be viewed “with

a measure of skepticism.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014).

       Defendants’ explanation of the federal government’s history of combatting communicable

disease shows that its role has traditionally been limited to “help[ing] states enforce quarantine

laws” and “inspections.” (Doc. 13 at 12-14). When an item was suspected of being infected, “the

item was subjected to a process of disinfection, typically either steaming or fumigation.” Florida,

2021 U.S. Dist. LEXIS 114297, at *39 (internal quotation marks omitted). The federal government

did not have widespread authority to institute population wide public health measures. Id. at 43-

44. This limited role is consistent with the general understanding that states are vested with

quarantine authority as a part of their police powers. Id. at n.23 (listing cases); cf. NFIB v. Dep’t

of Labor, 142 S. Ct. 661, 667 (2022) (Gorsuch, J., concurring) (“There is no question that state

and local authorities possess considerable power to regulate public health.”).

       Defendants also overstate what the PSHA authorized the federal government to do. In their

telling, the PSHA provided “federal health authorities flexibility to respond to new types of

contagion and ‘expressly sanction[ed] the use of conventional public-health enforcement methods’

by the government in disease-control efforts.” (Doc. 13 at 13) (quoting Consolidation & Revision

of Laws Relating to the Public Health Service, H.R. Rep. No. 1364 78th Cong. 2d Sess., at 24-25).

Not so. That same report acknowledged not that it was expanding the federal government’s role in

combatting disease, but merely codifying “heretofore practiced” methods that were previously

done by the federal government “under authority of regulations based upon implication rather than




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explicit authority.” Consolidation, at 24. The Mask Mandate is not a “discrete action, such as

inspection and sanitation at a port of entry,” Florida, 2021 U.S. Dist. LEXIS 114297, at *43, but

an entirely different kind of preventative public health regulation aimed at all individuals at

airports and on airplanes. The Court should recognize this limitless understanding of statutory

authority as inconsistent with the modest scope of § 264(a) and hold that Plaintiff is likely to

succeed on the merits.

       B.      Defendants’ broad reading of the statute constitutes a nondelegation violation.

       Defendants are similarly dismissive of Plaintiff’s nondelegation claim. (Doc. 13 at 32-34).

In doing so, they recognize that congressional delegation to an agency must have “boundaries” or

else it runs afoul of the nondelegation doctrine. (Id. at 32) (quoting Big Time Vapes v. FDA, 963

F.3d 436 (5th Cir. 2020). These boundaries must “meaningfully constrain[]” the Executive’s

discretion. Touby v. United States, 500 U.S. 160, 166 (1991). Congress cannot “merely announce

vague aspirations and then assign others the responsibility of adopting legislation to realize its

goals.” Gundy v. United States, 139 S. Ct. 2116, 2133 (2019) (Gorsuch, J., dissenting). Defendants

fail to show how their interpretation of § 264(a) meaningfully constrains the CDC’s discretion.

       Defendants point to the recent holding in AAR as meaningfully constraining § 264: “[A]ny

[nondelegation] concern is resolved by the second sentence, as interpreted in AAR, in which the

Supreme Court stated that the scope of 42 U.S.C. § 264(a) is ‘inform[ed]’ by the list of six

specifically authorized measures (i.e., inspection, fumigation, disinfection, sanitation, pest

extermination, and destruction). 141 S. Ct. at 2488.” (Doc. 13 at 33-34). But any meaningful

constraints offered by § 264(a)’s second sentence is a farce if Defendants can just isolate one of

the six authorized measures and provide their most favored, broad definition of their power. This

is exactly what they are attempting to do here, where they are defining “sanitation” as “the




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promotion of hygiene and prevention of disease by maintenance of sanitary conditions.” (Doc. 13

at 28). If “sanitation” can be read so broadly as to allow the federal government to force millions

of air travelers a day to wear masks, it is hard to imagine a regulation that would not pass muster.

         Allowing Defendants to adopt capacious definitions of their authority without being

informed by the statute’s context, structure, and history does not meaningfully constrain their

discretion. If Congress meant to give Defendants such unfettered power, they needed to “provide

substantial guidance.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 475 (2001). Unlike

“narrow, interstitial delegations of authority,” United States v. Melgar-Diaz, 2 F.4th 1263, 1267

(9th Cir. 2021), a statute that confers the authority to “affect the entire national economy” must

direct the Executive how to use it, Whitman, 531 U.S. at 475. Defendants’ interpretation gives

them the ability to vastly expand their authority through the use of broad definitions, and the Court

should hold their interpretation of the statute violates the nondelegation doctrine.

II.      The public interest always lies in enjoining unlawful regulations.

         As the Fifth Circuit recently said, the “public interest [is] in having government agencies

abide by the federal laws that govern their existence and operations.” State v. Biden, 10 F.4th 538,

559-60 (5th Cir. 2021). “The public interest is also served by maintaining our constitutional

structure and maintaining the liberty of individuals to make intensely personal decisions according

to their own convictions—even, or perhaps particularly, when those decisions frustrate

government officials.” BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618-19 (5th Cir. 2021).

Defendants’ reliance on state and local mask mandates for evidence that an injunction is not in the

public interest is misplaced. (Doc. 13 at 27). Whether local governments have the authority to issue

mask mandates is irrelevant to whether Congress authorized the CDC to issue this Mask Mandate.

Here, Congress did not authorize the CDC to issue the Mask Mandate and “the government has no




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legitimate interest in enforcing ‘an unlawful’ mandate.” Feds v. Biden, No. 3:21-cv-356, 2022 U.S.

Dist. LEXIS 11145, at *21 (S.D. Tex. Jan. 21, 2022).

III.   Plaintiff continues to experience ongoing harm.

       Defendants merely ignore the Fifth Circuit’s recent decision BST Holdings. There, the

Court noted that “the loss of constitutional freedoms ‘for even minimal periods of time . . .

unquestionably constitutes irreparable injury.’” 17 F.4th at 618; Sambrano v. United Airlines, No.

21-11159, 2022 U.S. App. LEXIS 4347, at *42 (5th Cir. Feb. 17, 2022) (“[C]onstitutional

violations inflict irreparable harm.”). Accordingly, Defendants attempt to distinguish between

different types of constitutional freedom is misplaced, and the Court should find irreparable harm.

Further, it is not the “magnitude” of the injury as much as the “irreparability that counts.” Enter.

Int’l, Inc. v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985). Once

Plaintiff is forced to wear a mask, there is no way to go back in time to remedy that she was subject

to an unlawful regulation.

       Furthermore, Plaintiff’s harm is not “trifling,” as Defendants claim. (Doc. 13 at 21-23).

While Defendants may not be bothered by wearing a mask, many people are. Indeed, both the Fifth

Circuit and Supreme Court have recently recognized that wearing a mask for hours at a time is not

a trivial burden. In NFIB, the Supreme Court reinstituted a stay originally granted by the Fifth

Circuit that prevented OSHA from enforcing an emergency temporary standard (the “ETS”) that

required millions of employees to get the COVID-19 vaccine. 142 S. Ct. at 663-64; BST Holdings,

17 F.4th at 609. The ETS contained an opt-out from the vaccine that required employees to take

weekly tests and wear a mask at work. In that case, neither the Fifth Circuit nor the Supreme Court

found the opt-out to be a minimal enough burden to leave in place, despite the fact that the federal

government requested any interim relief leave the mask and test portion of the ETS in place. See




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Response in Opposition to the Applications for a Stay, No. 21A244, at 83-84 (Jan. 30, 2021).

Further, whether plaintiffs in other districts have “medical reasons” to not wear a mask has no

bearing on this case. (Doc. 13 at 25). And appellate decisions to deny stay applications have neither

precedential nor persuasive effect. A stay denial is “not a decision on the merits of the underlying

legal issues.” Ind. State Police Pension. Tr. v. Chrysler LLC, 556 U.S. 960, 2276 (2009).

       Finally, any delay by Plaintiff in filing was reasonable. See ADT v. Cap. Connect, 145 F.

Supp. 3d 671, 699 (N.D. Tex. 2015). The constantly changing guidance gives passengers the

illusion that the Mask Mandate is always just about to end. The CDC waited almost a full year

after COVID-19 was declared a national emergency to even institute the Mask Mandate. (Doc. 13

at 16-17.) Additionally, the TSA’s corollary security directives are always published with an

expiration date just a few months away. See TSA, Security Directives and Emergency

Amendments, https://www.tsa.gov/sd-and-ea (last accessed March 8, 2022). Plaintiff was

reasonable in believing that the mandate would eventually expire. Unfortunately, that hope now

appears to be false, and so Plaintiff filed this challenge.

IV.    A nationwide injunction is appropriate.

       In closing, Defendants propose that any preliminary injunction be limited only to Plaintiff

Van Duyne. “Crafting a preliminary injunction is an exercise of discretion and judgment, often

dependent as much on the equities of a given case as the substance of the legal issues it presents.”

Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017). Universal injunctions

against federal agency action are appropriate when “the public interest would be ill-served . . . by

requiring simultaneous litigation of this narrow question of law in countless jurisdictions.” City of

Chicago v. Sessions, 888 F.3d 272, 292 (7th Cir. 2018).




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        A violation of the separation of powers supports a nationwide injunction. City of Chicago

v. Barr, 961 F.3d 882, 919 (7th Cir. 2020) (“The nature of the injury is a valid consideration in

determining the proper scope of injunctive relief. … [T]he executive’s usurpation of the

legislature’s power … implicates an interest that is fundamental to our government and essential

to the protection against tyranny.”). That is exactly the case here, where an agency is either

exceeding its Congressionally conferred authority or exercising discretion that should have never

been delegated to it. See also Mistretta v. United States, 488 U.S. 361, 371 (1989).

        An injunction limited to Plaintiff Van Duyne would be also nonsensical. Her challenge is

a facial one and affects all passengers equally. It also crosses district, state, and circuit boundaries,

which makes a geographic limitation unworkable as well. Even on an individual basis, what would

Defendants’ remedy look like in real life? Would Van Duyne carry a “permission slip” from the

Court? Would airline personnel find her claim of an individual exception credible? And how would

this look to other travelers, who would undoubtedly be confused?

        If Plaintiff is successful in this motion, that means that the Court believes Plaintiff is likely

correct that the rule is illegal. It would therefore make little sense to not enjoin the Defendants

from enforcing the rule as a whole. Similarly situated potential plaintiffs would merely need to file

their own lawsuits and judicial economy will not be furthered by a rush of lawsuits raising this

narrow issue. See Amanda Frost, In Defense of Nationwide Injunctions, 93 N.Y.U.L. Rev. 1065,

1085 (2018). Limiting injunctive relief as proposed by Defendants would ultimately be disruptive

and inefficient, and a nationwide injunction against Defendants is appropriate.

V.      Conclusion.

        For the foregoing reasons, Plaintiff respectfully asks the Court to grant her motion for a

preliminary injunction.




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                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 9, 2022, I electronically filed the foregoing with the Clerk

of the Court for the Northern District of Texas by using the CM/ECF system, which will serve a

copy of same on the counsel of record.


                                            /s/Matthew Miller
                                            MATTHEW MILLER




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